                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION

 SAMUEL DE DIOS,

                Plaintiff,                                    No. C18-4015-LTS

 vs.
                                                                    ORDER
 INDEMNITY INSURANCE
 COMPANY OF NORTH AMERICA,
 et al.,
          Defendants.



        In light of the amended opinion (Doc. No. 112) issued by the Iowa Supreme Court
in response to the question certified by this court, the parties shall file a joint status report,
on or before July 26, 2019, describing the steps the parties believe the court should take
to advance this litigation. Among other things, the parties should address what deadlines
should be established or adjusted and whether the court should, as tentatively discussed,
set trial for October 26, 2020. If the parties are unable to agree on any of these issues,
the joint status report should describe their respective positions.


        IT IS SO ORDERED.
        DATED this 12th day of July, 2019.




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                                             Leonard T. Strand, Chief Judge




       Case 5:18-cv-04015-LTS-KEM Document 113 Filed 07/12/19 Page 1 of 1
